                      Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 1 of 46




 1                                                                        Honorable Marsha J. Pechman

 2

 3
 4

 5

 6

 7
 8                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
     DANIEL HOPKINS,
10                                                          NO. 2:18-CV-01723 MJP
                                      Plaintiff,
11                                                          PLAINTIFF’S REVISED JURY
            v.                                              INSTRUCTIONS
12
     INTEGON GENERAL INSURANCE
13   CORPORATION,

14                                  Defendant.

15
            It was unclear from the pretrial conference whether the Court wanted a revised set of
16
     particular jury instructions or an entire set of new instructions. For this reason, we have done both
17
     in this pleading. Attachment 1 are revised particular instructions. Attachment 2 is an entire set of
18
     revised instructions.
19
     DATED this 28th day of September, 2020.
20

21

22

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                          Peterson | Wampold
     INSTRUCTIONS - 1                                                                 Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                      1501 FOURTH AVENUE, SUITE 2800
                                                                                     SEATTLE, WASHINGTON 98101-3677
                                                                                           PHONE: (206) 624-6800
                                                                                            FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 2 of 46




 1                                     PETERSON | WAMPOLD
                                       ROSATO | FELDMAN| LUNA
 2
                                       /s/Michael S. Wampold
 3
                                       Michael S. Wampold, WSBA No. 26053
 4                                     Tomás A. Gahan, WSBA No. 32779
                                       1501 4th Avenue, Suite 2800
 5                                     Seattle, WA 98101
                                       Ph. (206) 624-6800
 6                                     wampold@pwrfl-law.com
                                       gahan@pwrfl-law.com
 7
                                       Attorneys for Plaintiff Daniel Hopkins
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26


     PLAINTIFF’S REVISED JURY                                       Peterson | Wampold
     INSTRUCTIONS - 2                                              Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                   1501 FOURTH AVENUE, SUITE 2800
                                                                  SEATTLE, WASHINGTON 98101-3677
                                                                        PHONE: (206) 624-6800
                                                                         FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 3 of 46




 1

 2

 3
 4

 5
     Attachment 1
 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26


     PLAINTIFF’S REVISED JURY                            Peterson | Wampold
     INSTRUCTIONS - 3                                   Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                         1501 FOURTH AVENUE, SUITE 2800
                                                        SEATTLE, WASHINGTON 98101-3677
                                                              PHONE: (206) 624-6800
                                                               FAX: (206) 682-1415
                      Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 4 of 46




 1                                       Plaintiff’s Instruction No. 9

 2                   Violation of Insurance Regulations Related to Settlement of Claims

 3          A violation, if any, of one or more of the following statutory or regulatory requirements is

 4   a breach of the duty of good faith, an unfair or deceptive act or practice in the business of insurance

 5   under the consumer protection act and a breach of the insurance contract:

 6
                    (1)     Failing to acknowledge and act reasonably promptly upon communications
 7
            with respect to claims arising under insurance policies.
 8
                    (2)     Failing to adopt and implement reasonable standards for the prompt
 9
            investigation of claims arising under insurance policies.
10
                    (3)     Refusing to pay claims without conducting a reasonable investigation.
11
                    (4)     Not attempting in good faith to effectuate prompt, fair, and equitable
12
            settlements of claims in which liability has become reasonably clear.
13
                    (5)     Failing to promptly provide a reasonable explanation of the basis in the
14
            insurance policy in relation to the facts or applicable law for denial of a claim.                         Commented [TG1]: Upon reflection, Plaintiffs believe that this
                                                                                                                       instruction is relevant to the facts here and will readdress this with
15                                                                                                                     the Court.
                    (6)     Compelling an insured to initiate or submit to litigation, arbitration, or
16
            appraisal to recover amounts due under an insurance policy by offering substantially less
17
            than the amounts ultimately recovered in such actions or proceedings.
18
                    (7)     Not attempting in good faith to effectuate prompt, fair and equitable
19
            settlements of claims on which liability has become reasonably clear.
20

21
     6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 320.06 (7th ed.) (modified); St. Paul Fire &
22   Marine Ins. v. Onvia, 165 Wn.2d 22, 130 (2008).

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                           Peterson | Wampold
     INSTRUCTIONS - 4                                                                  Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                       1501 FOURTH AVENUE, SUITE 2800
                                                                                      SEATTLE, WASHINGTON 98101-3677
                                                                                            PHONE: (206) 624-6800
                                                                                             FAX: (206) 682-1415
                      Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 5 of 46




 1                                           Instruction No. 18

 2                                           Consumer Protection Act

 3          Plaintiff Hopkins claims that Defendant Integon General Insurance Corporation violated the

 4   Washington Consumer Protection Act. To prove this claim, Plaintiff Hopkins has the burden of

 5   proving each of the following propositions:

 6          (1)     That Defendant Integon General Insurance Corporation engaged in an unfair or

 7   deceptive act or practice;

 8          (2)     That the act or practice occurred in the conduct of Defendant Integon General Insurance

 9   Corporation’s trade or commerce;

10          (3)     That the act or practice affects the public interest;

11          (4)     That Plaintiff Hopkins was injured in either his business or his property, and

12          (5)     That Defendant Integon General Insurance Corporation’s act or practice was a

13   proximate cause of Plaintiff Hopkin’s injury.

14          If you find from your consideration of all of the evidence that each of these propositions has

15   been proved, your verdict should be for Plaintiff Hopkins on this claim. On the other hand, if any of

16   these propositions has not been proved, your verdict should be for Defendant Integon General

17   Insurance Corporation on this claim.

18

19
20

21

22

23
24
     6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 310.01 (7th ed.).
25
26


     PLAINTIFF’S REVISED JURY                                                        Peterson | Wampold
     INSTRUCTIONS - 5                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                    1501 FOURTH AVENUE, SUITE 2800
                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                         PHONE: (206) 624-6800
                                                                                          FAX: (206) 682-1415
                        Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 6 of 46




 1                                                Instruction No. 19

 2                                  Per Se Violation of Consumer Protection Act

 3           A single violation of a statute or regulation relating to the business of insurance is an unfair

 4   or deceptive act or practice. A violation of these statutes and administrative rules also affects the

 5   public interest.

 6           Statutory and administrative rules that govern insurance companies are set forth in Jury

 7   Instructions above.

 8           If you find that a violation of a statute or regulation relating to the business of insurance

 9   has occurred, then you must find that the first three elements of a Consumer Protection Act

10   violation have been proved.

11

12
13

14
15

16
17

18

19
20

21

22

23   6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 310.03 (7th ed.) (modified); Industr. Indemn
     Co v. Kallevig, 114 Wn.2d 907, 923 (1990) (single violation of WAC regulations is CPA
24   violation).

25
26


     PLAINTIFF’S REVISED JURY                                                            Peterson | Wampold
     INSTRUCTIONS - 6                                                                   Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                        1501 FOURTH AVENUE, SUITE 2800
                                                                                       SEATTLE, WASHINGTON 98101-3677
                                                                                             PHONE: (206) 624-6800
                                                                                              FAX: (206) 682-1415
                      Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 7 of 46




 1                                      Plaintiff’s Instruction No. 23

 2                                                  Damages

 3          It is your duty to determine the value of Plaintiff Hopkins’ claim for insurance benefits. In

 4   determining the value of that claim, you should consider:

 5          You should consider the following past economic damage elements:

 6          • The reasonable value of necessary medical care, treatment and services received to the

 7   present time.

 8          • Lost or diminished assets or property, including value of money.

 9          The following future economic damages elements:

10          • The reasonable value of necessary medical care, treatment and services with reasonable

11   probability to be required in the future.

12          In addition, you should consider the following noneconomic damages elements:

13          • The nature and extent of the injuries.

14          • The disability, disfigurement and loss of enjoyment of life experienced and with

15   reasonable probability to be experienced in the future.

16          • The pain and suffering, both mental and physical, and inconvenience experienced and

17   with reasonable probability to be experienced in the future.

18          In addition to his claim for insurance benefits, Plaintiff Hopkins has asserted claims for

19   violations of the Consumer Protection Act, Insurance Fair Conduct Act, duty to act in good faith,

20   negligence, each of which has its own elements of damages. The Court will instruct as to those

21   damages elements at the conclusion of trial.

22

23   6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 30.01.01 (7th ed.); 6 Wash. Prac., Wash. Pattern
     Jury Instr. Civ. WPI 30.04 (7th ed.); 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 30.05 (7th
24   ed.); 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 30.06 (7th ed.); 6 Wash. Prac., Wash.
     Pattern Jury Instr. Civ. WPI 30.07.01 (7th ed.); 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI
25   30.07.02 (7th ed.); for IFCA “actual damages,” see Dees v. Allstate Insurance Co., 933 F. Supp.
     2d 1299, 1212-13 (W.D. Wash. 2013):
26           [A]n IFCA claimant can recover policy benefits, subject to the policy’s limits
             and other applicable terms and conditions. The court does not agree with

     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 7                                                                Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                     1501 FOURTH AVENUE, SUITE 2800
                                                                                    SEATTLE, WASHINGTON 98101-3677
                                                                                          PHONE: (206) 624-6800
                                                                                           FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 8 of 46




 1          Allstate that damages, such as unpaid medical bills, lost wages, and pain and
            suffering cannot be recovered if those damages also represent unreasonably
 2          denied UIM policy benefits. Rather, if Ms. Dees’ medical bill lost wages, and
            pain and suffering damages also represent unreasonably denied policy benefits,
 3          then Ms. Dees may recover these amounts if she proves her IFCA claim at trial.

 4   See also dissent in Segura v. Cabrera, 179 Wash. App. 630, 648, 319 P.3d 98(Wash. Ct. App.
     2014) (“As a general rule, federal and other state statutes that grant ‘actual damages’ permit
 5   recovery of emotional distress,”) and Plaintiff’s trial brief.

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                      Peterson | Wampold
     INSTRUCTIONS - 8                                                             Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                  1501 FOURTH AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101-3677
                                                                                       PHONE: (206) 624-6800
                                                                                        FAX: (206) 682-1415
                         Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 9 of 46




 1                                  JURY INSTRUCTION NO. 30
                         INSURED’S DUTY OF GOOD FAITH – GENERAL DUTY
 2
               An insured also has a duty of good faith to the insurer.1 Plaintiff Hopkins complied with
 3
     his duty.
 4

 5

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     1
         RCW 48.01.030

     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 9                                                                Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                     1501 FOURTH AVENUE, SUITE 2800
                                                                                    SEATTLE, WASHINGTON 98101-3677
                                                                                          PHONE: (206) 624-6800
                                                                                           FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 10 of 46




 1                               JURY INSTRUCTION NO. 31
                      INSURED’S DUTY OF GOOD FAITH – GENERAL DUTY
 2
            The reasonableness of the Defendant’s claim handling must be measured as of the time that
 3
     the conduct occurred and based on the facts known to it at the time.
 4

 5

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                      Peterson | Wampold
     INSTRUCTIONS - 10                                                            Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                  1501 FOURTH AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101-3677
                                                                                       PHONE: (206) 624-6800
                                                                                        FAX: (206) 682-1415
                   Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 11 of 46




 1

 2

 3
 4

 5
     Attachment 2
 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26


     PLAINTIFF’S REVISED JURY                           Peterson | Wampold
     INSTRUCTIONS - 11                                 Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                        1501 FOURTH AVENUE, SUITE 2800
                                                       SEATTLE, WASHINGTON 98101-3677
                                                             PHONE: (206) 624-6800
                                                              FAX: (206) 682-1415
                       Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 12 of 46




 1                              DEFENDANT’S JURY INSTRUCTION NO. 1
                              DUTY OF JURY (COURT READS AND PROVIDES
 2                                     WRITTEN INSTRUCTIONS)

 3           Members of the jury: You are now the jury in this case. It is my duty to instruct you on the

 4   law.

 5           These instructions are preliminary instructions to help you understand the principles that

 6   apply to civil trials and to help you understand the evidence as you listen to it. You will be allowed

 7   to keep this set of instructions to refer to throughout the trial. These instructions are not to be taken

 8   home and must remain in the jury room when you leave in the evenings. At the end of the trial,

 9   these instructions will be collected and I will give you a final set of instructions. It is the final set

10   of instructions that will govern your deliberations.

11           It is your duty to find the facts from all the evidence in the case. To those facts you will

12   apply the law as I give it to you. You must follow the law as I give it to you whether you agree

13   with it or not. And you must not be influenced by any personal likes or dislikes, opinions,

14   prejudices or sympathy. That means that you must decide the case solely on the evidence before

15   you. You will recall that you took an oath to do so.

16           Please do not read into these instructions or anything I may say or do that I have an opinion

17   regarding the evidence or what your verdict should be.2

18

19
20

21

22

23
24

25
26   2
      Judge Pechman’s Preliminary Instruction No. 1 (citing Ninth Circuit Manual of Model Civil Jury Instructions (“9 th
     Cir. Model Instr.”) No. 1.4).

     PLAINTIFF’S REVISED JURY                                                                      Peterson | Wampold
     INSTRUCTIONS - 12                                                                            Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                  1501 FOURTH AVENUE, SUITE 2800
                                                                                                 SEATTLE, WASHINGTON 98101-3677
                                                                                                       PHONE: (206) 624-6800
                                                                                                        FAX: (206) 682-1415
                        Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 13 of 46




 1                                           Plaintiff’s Instruction No. 1

 2                                               Claims and Defenses

 3              To help you follow the evidence, I will give you a brief summary of the positions of the

 4   parties:

 5
                This is a civil case brought against Defendant Integon General Insurance Company. The
 6
     plaintiff is Daniel Hopkins. On April 23, 2016, Daniel Hopkins and his wife, Irene, were stopped
 7
     behind a pedestrian crosswalk on Northwest 85th Street when they were hit from behind by another
 8
     driver.
 9
10              The driver who caused the crash was under-insured at the time of the collision. Plaintiff

11   Hopkins is an insured under his Uninsured Motorist (“UIM”) policy with Defendant Integon

12   General Insurance Corporation. Because the driver who caused the crash was underinsured,

13   Plaintiff Hopkins has a claim for the insurance benefits against Defendant Integon, his insurer for

14   this claim.

15
                Plaintiff Hopkins makes the following five claims against Defendant Integon:
16
17              1) For insurance benefits, and you will be asked to determine the value of that claim;

18
                2) For violation of the Consumer Protection Act, and you will be asked to determine the
19
     value of that claim;
20

21              3) For violation of the Insurance Fair Conduct Act, and you will be asked to determine the

22   value of that claim;

23
                4) For violation of the insurance duty of good faith, and you will be asked to determine the
24
     value of that claim; and
25
26              5) For negligently handling Mr. Hopkins’ UIM claim, and you will be asked to determine


     PLAINTIFF’S REVISED JURY                                                            Peterson | Wampold
     INSTRUCTIONS - 13                                                                  Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                        1501 FOURTH AVENUE, SUITE 2800
                                                                                       SEATTLE, WASHINGTON 98101-3677
                                                                                             PHONE: (206) 624-6800
                                                                                              FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 14 of 46




 1   the value of that claim.

 2
            Plaintiff Daniel Hopkins claims that, as a result of Defendant Integon General Insurance
 3
     Corporation’s conduct, he suffered damages.
 4

 5          Defendant Integon General Insurance Corporation disputes the amount of benefits

 6   requested and denies each and every one of Plaintiff Hopkins’ claims.

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24   9th Circuit Model Federal Jury Instructions 1.2.

25
26


     PLAINTIFF’S REVISED JURY                                                     Peterson | Wampold
     INSTRUCTIONS - 14                                                           Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                 1501 FOURTH AVENUE, SUITE 2800
                                                                                SEATTLE, WASHINGTON 98101-3677
                                                                                      PHONE: (206) 624-6800
                                                                                       FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 15 of 46




 1                            DEFENDANT’S JURY INSTRUCTION NO. 10
                                     CONDUCT AS JURORS
 2
            I will now say a few words about your conduct as jurors.
 3
            First, keep an open mind throughout the trial, and do not decide what the verdict should be
 4
     until you and your fellow jurors have completed your deliberations at the end of the case.
 5
            Second, because you must decide this case based only on the evidence received in the
 6
     case and on my instructions as to the law that applies, you must not be exposed to any other
 7
     information about the case or to the issues it involves during the course of your jury duty.
 8
     Thus, until the end of the case or unless I tell you otherwise:
 9
            Do not communicate with anyone in any way and do not let anyone else communicate with
10
     you in any way about the merits of the case or anything to do with it. This includes discussing the
11
     case in person, in writing, by phone or electronic means, via email, text messaging, or any internet
12
     chat room, blog, website or application, including but not limited to Facebook, YouTube, Twitter,
13
     Instagram, LinkedIn, Snapchat, or any other forms of social media. This applies to communicating
14
     with your fellow jurors until I give you the case for deliberation, and it applies to communicating
15
     with everyone else including your family members, your employer, the media or press, and the
16
     people involved in the trial, although you may notify your family and your employer that you have
17
     been seated as a juror in the case, and how long you expect the trial to last. But, if you are asked
18
     or approached in any way about your jury service or anything about this case, you must respond
19
     that you have been ordered not to discuss the matter and report the contact to the court.
20
            Because you will receive all the evidence and legal instruction you properly may consider
21
     to return a verdict: do not read, watch or listen to any news or media accounts or commentary
22
     about the case or anything to do with it[,although I have no information that there will be news
23
     reports about this case]; do not do any research, such as consulting dictionaries, searching the
24
     Internet, or using other reference materials; and do not make any investigation or in any other way
25
     try to learn about the case on your own. Do not visit or view any place discussed in this case, and
26


     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 15                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                     1501 FOURTH AVENUE, SUITE 2800
                                                                                    SEATTLE, WASHINGTON 98101-3677
                                                                                          PHONE: (206) 624-6800
                                                                                           FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 16 of 46




 1   do not use Internet programs or other devices to search for or view any place discussed during the

 2   trial. Also, do not do any research about this case, the law, or the people involved—including the

 3   parties, the witnesses or the lawyers—until you have been excused as jurors. If you happen to read

 4   or hear anything touching on this case in the media, turn away and report it to me as soon as

 5   possible.

 6              These rules protect each party’s right to have this case decided only on evidence that has

 7   been presented here in court. Witnesses here in court take an oath to tell the truth, and the accuracy

 8   of their testimony is tested through the trial process. If you do any research or investigation outside

 9   the courtroom, or gain any information through improper communications, then your verdict may

10   be influenced by inaccurate, incomplete or misleading information that has not been tested by the

11   trial process. Each of the parties is entitled to a fair trial by an impartial jury, and if you decide the

12   case based on information not presented in court, you will have denied

13   the parties a fair trial. Remember, you have taken an oath to follow the rules, and it is very

14   important that you follow these rules.

15              A juror who violates these restrictions jeopardizes the fairness of these proceedings[, and

16   a mistrial could result that would require the entire trial process to start over]. If any juror is

17   exposed to any outside information, please notify the court immediately.3

18

19
20

21

22

23
24

25
26
     3
         Judge Pechman’s Preliminary Instruction No. 3 (citing 9 th Cir. Model Instr. No. 1.15).

     PLAINTIFF’S REVISED JURY                                                                       Peterson | Wampold
     INSTRUCTIONS - 16                                                                             Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                    1501 FOURTH AVENUE, SUITE 2800
                                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                                         PHONE: (206) 624-6800
                                                                                                          FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 17 of 46




 1                                  DEFENDANT’S JURY INSTRUCTION NO. 14
                                            OUTLINE OF TRIAL
 2
                Trials proceed in the following way: First, each side may make an opening statement. An
 3
     opening statement is not evidence. It is simply an outline to help you understand what that party
 4
     expects the evidence will show. A party is not required to make an opening statement.
 5
                The Plaintiff will then present evidence, and counsel for the defendant may cross-examine.
 6
     Then the defendant may present evidence, and counsel for the Plaintiff may cross-examine.
 7
                After the evidence has been presented, I will instruct you on the law that applies to the case
 8
     and the attorneys will make closing arguments.
 9
                After that, you will go to the jury room to deliberate on your verdict.4
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     4
         Judge Pechman’s Preliminary Instruction No. 5 (citing 9 th Cir. Model Instr. No. 1.21).

     PLAINTIFF’S REVISED JURY                                                                       Peterson | Wampold
     INSTRUCTIONS - 17                                                                             Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                    1501 FOURTH AVENUE, SUITE 2800
                                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                                         PHONE: (206) 624-6800
                                                                                                          FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 18 of 46




 1                                   DEFENDANT’S JURY INSTRUCTION NO. 8
                                           RULING ON OBJECTIONS
 2
                There are rules of evidence that control what can be received into evidence. When a lawyer
 3
     asks a question or offers an exhibit into evidence and a lawyer on the other side thinks that it is not
 4
     permitted by the rules of evidence, that lawyer may object. If I overrule the objection, the question
 5
     may be answered or the exhibit received. If I sustain the objection, the question cannot be
 6
     answered, and the exhibit cannot be received. Whenever I sustain an objection to a question, you
 7
     must ignore the question and must not guess what the answer might have been.
 8
                Sometimes I may order that evidence be stricken from the record and that you disregard or
 9
     ignore the evidence. That means when you are deciding the case, you must not consider the stricken
10
     evidence for any purpose.5
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     5
         Judge Pechman’s Preliminary Instruction No. 7 (citing 9 th Cir. Model Instr. No. 1.13).

     PLAINTIFF’S REVISED JURY                                                                       Peterson | Wampold
     INSTRUCTIONS - 18                                                                             Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                    1501 FOURTH AVENUE, SUITE 2800
                                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                                         PHONE: (206) 624-6800
                                                                                                          FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 19 of 46




 1                                   DEFENDANT’S JURY INSTRUCTION NO. 4
                                            WHAT IS EVIDENCE
 2
                The evidence you are to consider in deciding the fact of the case are:
 3
                (1) the sworn testimony of any witness;
 4
                (2) the exhibits which are received into evidence;
 5
                (3) any facts to which the lawyers have agreed; and
 6
                (4) [any facts that I instruct you to accept as proved]. 6
 7
 8              You may also have heard testimony in the form of depositions. This testimony is also

 9   evidence from which you are to decide the facts. You should draw no inference from whether these

10   individuals were or were not physically present in the court themselves..

11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     6
         Judge Pechman’s Preliminary Instruction No. 8 (citing 9 th Cir. Model Instr. No. 1.9).

     PLAINTIFF’S REVISED JURY                                                                      Peterson | Wampold
     INSTRUCTIONS - 19                                                                            Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                   1501 FOURTH AVENUE, SUITE 2800
                                                                                                  SEATTLE, WASHINGTON 98101-3677
                                                                                                        PHONE: (206) 624-6800
                                                                                                         FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 20 of 46




 1                                   DEFENDANT’S JURY INSTRUCTION NO. 5
                                           WHAT IS NOT EVIDENCE
 2
                In reaching your verdict, you may consider only the testimony and exhibits received into
 3
     evidence. Certain things are not evidence, and you may not consider them in deciding what the
 4
     facts are. I will list them for you:
 5
                (1) Arguments and statements by lawyers are not evidence. The lawyers are not witnesses.
 6
                     What they say in their opening statements, closing arguments, and at other times is
 7
                     intended to help you interpret the evidence, but it is not evidence. If the facts as you
 8
                     remember them differ from the way the lawyers have stated them, your memory of
 9
                     them controls.
10
                (2) Questions and objections by lawyers are not evidence. Attorneys have a duty to their
11
                     clients to object when they believe a question is improper under the rules of evidence.
12
                     You should not be influenced by the objection or by the court’s ruling on it.
13
                (3) Testimony that has been excluded or stricken, or that you have been instructed to
14
                     disregard, is not evidence and must not be considered. In addition some evidence are
15
                     received only for a limited purpose; when I instruct you to consider certain evidence
16
                     only for a limited purpose, you must do so and you may not consider that evidence for
17
                     any other purpose.
18
                (4) Anything you may see or hear when the court was not in session is not evidence. You
19
                     are to decide the case solely on the evidence received at the trial.7
20

21

22

23
24

25
26
     7
         Judge Pechman’s Preliminary Instruction No. 9 (citing 9 th Cir. Model Instr. No. 1.10).

     PLAINTIFF’S REVISED JURY                                                                       Peterson | Wampold
     INSTRUCTIONS - 20                                                                             Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                    1501 FOURTH AVENUE, SUITE 2800
                                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                                         PHONE: (206) 624-6800
                                                                                                          FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 21 of 46




 1                                  DEFENDANT’S JURY INSTRUCTION NO. 7
                                   DIRECT AND CIRCUMSTANTIAL EVIDENCE
 2
                Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such as
 3
     testimony by a witness about what that witness personally saw or heard or did. Circumstantial
 4
     evidence is proof of one or more facts from which you could infer another fact. You should
 5
     consider both kinds of evidence. The law makes no distinction between the weight to be given to
 6
     either direct or circumstantial evidence. It is for you to decide how much weight to give to any
 7
     evidence.8
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     8
         Judge Pechman’s Preliminary Instruction No. 10 (citing 9 th Cir. Model Instr. No. 1.12).

     PLAINTIFF’S REVISED JURY                                                                        Peterson | Wampold
     INSTRUCTIONS - 21                                                                              Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                     1501 FOURTH AVENUE, SUITE 2800
                                                                                                    SEATTLE, WASHINGTON 98101-3677
                                                                                                          PHONE: (206) 624-6800
                                                                                                           FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 22 of 46




 1                            DEFENDANT’S JURY INSTRUCTION NO. 9
                                  CREDIBILITY OF WITNESSES
 2
            In deciding the facts in this case, you may have to decide which testimony to believe and
 3
     which testimony not to believe. You may believe everything a witness says, or part of it, or none
 4
     of it. Proof of a fact does not necessarily depend on the number of witnesses who testify about it.
 5
            In considering the testimony of any witness, you may take into account:
 6
                (1) the opportunity and ability of the witness to see or hear or know the things testified
 7                  to;
 8              (2) the witness’s memory;
 9              (3) the witness’s manner while testifying;
10              (4) the witness’s interest in the outcome of the case, if any;
11              (5) the witness’s bias or prejudice, if any;
12              (6) whether other evidence contradicted the witness’s testimony;
13              (7) the reasonableness of the witness’s testimony in light of all the evidence; and
14              (8) any other factors that bear on believability.
15          Sometimes a witness may say something that is not consistent with something else he or
16   she said. Sometimes different witnesses will give different versions of what happened. People
17   often forget things or make mistakes in what they remember. Also, two people may see the same
18   event but remember it differently. You may consider these differences, but do not decide that
19   testimony is untrue just because it differs from other testimony.
20          However, if you decide that a witness has deliberately testified untruthfully about
21   something important, you may choose not to believe anything that witness said. On the other hand,
22   if you think the witness testified untruthfully about some things but told the truth about others, you
23   may accept the part you think is true and ignore the rest.
24          The weight of the evidence as to a fact does not necessarily depend on the number of
25   witnesses who testify. What is important is how believable the witnesses were, and how much
26


     PLAINTIFF’S REVISED JURY                                                          Peterson | Wampold
     INSTRUCTIONS - 22                                                                Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                       1501 FOURTH AVENUE, SUITE 2800
                                                                                      SEATTLE, WASHINGTON 98101-3677
                                                                                            PHONE: (206) 624-6800
                                                                                             FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 23 of 46




 1   weight you think their testimony deserves.9

 2

 3
 4

 5

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     9
         Judge Pechman’s Preliminary Instruction No. 11 (citing 9th Cir. Model Instr. No. 1.14) (modified).

     PLAINTIFF’S REVISED JURY                                                                         Peterson | Wampold
     INSTRUCTIONS - 23                                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                     1501 FOURTH AVENUE, SUITE 2800
                                                                                                    SEATTLE, WASHINGTON 98101-3677
                                                                                                          PHONE: (206) 624-6800
                                                                                                           FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 24 of 46




 1                                  DEFENDANT’S JURY INSTRUCTION NO. 20
                                             EXPERT OPINION
 2
                You may hear testimony from experts who will testify to opinions and the reasons for their
 3
     opinions. This opinion testimony is allowed, because of the education or experience of this witness.
 4
                Such opinion testimony should be judged like any other testimony. You may accept it or
 5
     reject it, and give it as much weight as you think it deserves, considering the witness’s education
 6
     and experience, the reasons given for the opinion, and all the other evidence in the case.10
 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     10
          Judge Pechman’s Preliminary Instruction No. 12 (citing 9 th Cir. Model Instr. No. 2.13).

     PLAINTIFF’S REVISED JURY                                                                         Peterson | Wampold
     INSTRUCTIONS - 24                                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                      1501 FOURTH AVENUE, SUITE 2800
                                                                                                     SEATTLE, WASHINGTON 98101-3677
                                                                                                           PHONE: (206) 624-6800
                                                                                                            FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 25 of 46




 1                                  DEFENDANT’S JURY INSTRUCTION NO. 24
                                             CORPORATIONS
 2
                All parties are equal before the law and a corporation or partnership is entitled to the same
 3
     fair and conscientious consideration by you as any party.11
 4

 5

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     11
          Judge Pechman’s Opening Instruction No. 13 (citing 9 th Cir. Model Instr. No. 3.3)

     PLAINTIFF’S REVISED JURY                                                                   Peterson | Wampold
     INSTRUCTIONS - 25                                                                         Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                                1501 FOURTH AVENUE, SUITE 2800
                                                                                               SEATTLE, WASHINGTON 98101-3677
                                                                                                     PHONE: (206) 624-6800
                                                                                                      FAX: (206) 682-1415
                      Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 26 of 46




 1                                     Plaintiff’s Instruction No. 3

 2                                             Corporations

 3          Defendant Integon General Insurance Corporation is a corporation. A corporation can act

 4   only through its officers and employees. Any act or omission of an officer or employee is the act

 5   or omission of the corporation. A corporation is charged with the knowledge of its officers, agents

 6   and employees.

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26   6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 50.18 (7th ed.) (modified); Sons of Norway v.
     Boomer, 10 Wn. App. 618, 623 (1974).

     PLAINTIFF’S REVISED JURY                                                        Peterson | Wampold
     INSTRUCTIONS - 26                                                              Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                    1501 FOURTH AVENUE, SUITE 2800
                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                         PHONE: (206) 624-6800
                                                                                          FAX: (206) 682-1415
                           Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 27 of 46




 1

 2                             DEFENDANT’S JURY INSTRUCTION NO. 3
                         BURDEN OF PROOF—PREPONDERANCE OF THE EVIDENCE
 3
                In this case, the Plaintiff must prove each of his claims by a preponderance of the evidence.
 4
     When a party has the burden of proof on any claim by a preponderance of the evidence, it means
 5
     you must be persuaded by the evidence that the claim is more probably true than not true. You
 6
     should base your decision on all of the evidence, regardless of which party presented it.12                         Commented [DV2]: This was edited to remove “affirmative
 7                                                                                                                       defense” language in light of Court’s rulings.


 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     12
          9th Cir. Model Instr. No. 1.6 (modified).

     PLAINTIFF’S REVISED JURY                                                             Peterson | Wampold
     INSTRUCTIONS - 27                                                                   Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                         1501 FOURTH AVENUE, SUITE 2800
                                                                                        SEATTLE, WASHINGTON 98101-3677
                                                                                              PHONE: (206) 624-6800
                                                                                               FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 28 of 46




 1
                                            Instruction No. 2
 2
                                             Proximate Cause
 3
 4          The term “proximate cause” means a cause which in a direct sequence produces the injury

 5   complained of and without which such injury would not have happened.

 6          There may be more than one proximate cause of an injury.

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25   6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 15.01 (6th ed.).

26


     PLAINTIFF’S REVISED JURY                                                 Peterson | Wampold
     INSTRUCTIONS - 28                                                       Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                             1501 FOURTH AVENUE, SUITE 2800
                                                                            SEATTLE, WASHINGTON 98101-3677
                                                                                  PHONE: (206) 624-6800
                                                                                   FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 29 of 46




 1                                     Plaintiff’s Instruction No. 4

 2                       Underinsured Motorist (UIM) Insurance Policy Coverage

 3          An Underinsured Motorist (UIM) policy provides coverage to its insured for injuries or

 4   damages caused by an at-fault, underinsured motorist.

 5
            The purpose of UIM insurance is to allow an injured party to recover those damages that
 6
     the injured party would have received had the at-fault party been insured with liability limits as
 7
     broad as the injured party’s own UIM insurance limits.
 8

 9
10
11

12
13

14
15

16
17

18

19
20
     Finney v. Farmers Ins. Co., 92 Wn.2d 748, 751-52, 600 P.2d 1272 (1979) (“The purpose of the
21   [UIM] statute is to allow an injured party to recover those damages which would have been
     received had the responsible party maintained liability insurance.”); (Britton v. Safeco Ins. Co. of
22   America, 104 Wn.2d 518, 531, 707 P.2d 125 (1985) (“[W]e construe the purpose of the
     underinsured motorist aspects of the new underinsured motorist statute as allowing an injured
23   party to recover those damages which the injured party would have received had the responsible
     party been insured with liability limits as broad as the injured party's statutorily mandated
24   underinsured motorist coverage limits.”) (emphasis in original).

25
26


     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 29                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                     1501 FOURTH AVENUE, SUITE 2800
                                                                                    SEATTLE, WASHINGTON 98101-3677
                                                                                          PHONE: (206) 624-6800
                                                                                           FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 30 of 46




 1                                    Plaintiff’s Instruction No. 12

 2
                                              Benefits Claim
 3
            The Integon General Insurance Corporation policy provides UIM coverage for any injury
 4
     and damage which was proximately caused by the April 23, 2016 collision. The Plaintiff has the
 5
     burden of proving what injuries and damages to the Plaintiff were proximately caused by this
 6
     collision and what amount the Plaintiff should recover.
 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22   6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 300.02 (7th ed.)(modified).

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                     Peterson | Wampold
     INSTRUCTIONS - 30                                                           Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                 1501 FOURTH AVENUE, SUITE 2800
                                                                                SEATTLE, WASHINGTON 98101-3677
                                                                                      PHONE: (206) 624-6800
                                                                                       FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 31 of 46




 1                                           Instruction No. 18

 2                                           Consumer Protection Act

 3          Plaintiff Hopkins claims that Defendant Integon General Insurance Corporation violated

 4   the Washington Consumer Protection Act. To prove this claim, Plaintiff Hopkins has the burden

 5   of proving each of the following propositions:

 6          (1)     That Defendant Integon General Insurance Corporation engaged in an unfair or

 7   deceptive act or practice;

 8          (2)     That the act or practice occurred in the conduct of Defendant Integon General

 9   Insurance Corporation’s trade or commerce;

10          (3)     That the act or practice affects the public interest;

11          (4)     That Plaintiff Hopkins was injured in either his business or his property, and

12          (5)     That Defendant Integon General Insurance Corporation’s act or practice was a

13   proximate cause of Plaintiff Hopkin’s injury.

14          If you find from your consideration of all of the evidence that each of these propositions

15   has been proved, your verdict should be for Plaintiff Hopkins on this claim. On the other hand,

16   if any of these propositions has not been proved, your verdict should be for Defendant Integon

17   General Insurance Corporation on this claim.

18

19
20

21

22

23
24

25
     6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 310.01 (7th ed.).
26


     PLAINTIFF’S REVISED JURY                                                        Peterson | Wampold
     INSTRUCTIONS - 31                                                              Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                    1501 FOURTH AVENUE, SUITE 2800
                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                         PHONE: (206) 624-6800
                                                                                          FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 32 of 46




 1                                     Plaintiff’s Instruction No. 9

 2                   Violation of Insurance Regulations Related to Settlement of Claims

 3          A violation, if any, of one or more of the following statutory or regulatory requirements is

 4   a failure to provide benefits, an unfair or deceptive act or practice in the business of insurance

 5   under the Consumer Protection Act, and a breach of the duty of good faith.                                       Commented [DV3]: The order of these claims was changed for
                                                                                                                      consistency

 6
            (1) Failing to acknowledge and act reasonably promptly upon communications with
 7
                respect to claims arising under insurance policies.
 8
                    (2)    Failing to adopt and implement reasonable standards for the prompt
 9
            investigation of claims arising under insurance policies.
10
                    (3)    Refusing to pay claims without conducting a reasonable investigation.
11
                    (4)    Not attempting in good faith to effectuate prompt, fair, and equitable
12
            settlements of claims in which liability has become reasonably clear.
13
                    (5)    Failing to promptly provide a reasonable explanation of the basis in the
14
            insurance policy in relation to the facts or applicable law for denial of a claim.                        Commented [TG4]: Upon reflection, Plaintiffs believe that this
                                                                                                                      instruction is relevant to the facts here and will readdress this with
15                                                                                                                    the Court.
                    (6)    Compelling an insured to initiate or submit to litigation, arbitration, or
16
            appraisal to recover amounts due under an insurance policy by offering substantially less
17
            than the amounts ultimately recovered in such actions or proceedings.
18
                    (7)    Not attempting in good faith to effectuate prompt, fair and equitable
19
            settlements of claims on which liability has become reasonably clear.
20

21
     6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 320.06 (7th ed.) (modified); St. Paul Fire &
22   Marine Ins. v. Onvia, 165 Wn.2d 22, 130 (2008).

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                          Peterson | Wampold
     INSTRUCTIONS - 32                                                                Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                      1501 FOURTH AVENUE, SUITE 2800
                                                                                     SEATTLE, WASHINGTON 98101-3677
                                                                                           PHONE: (206) 624-6800
                                                                                            FAX: (206) 682-1415
                        Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 33 of 46




 1                                            Instruction No. 19

 2                              Per Se Violation of Consumer Protection Act
 3
             A single violation of a statute or regulation relating to the business of insurance is an unfair
 4
     or deceptive act or practice. A violation of these statutes and administrative rules also affects the
 5
     public interest.
 6
             Statutory and administrative rules that govern insurance companies are set forth in Jury
 7
     Instructions above.
 8
             If you find that a violation of a statute or regulation relating to the business of insurance
 9
     has occurred, then you must find that the first three elements of a Consumer Protection Act
10
     violation have been proved.
11

12
13

14
15

16
17

18

19
20

21

22

23   6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 310.03 (7th ed.) (modified); Industr. Indemn
     Co v. Kallevig, 114 Wn.2d 907, 923 (1990) (single violation of WAC regulations is CPA
24   violation).
25
26


     PLAINTIFF’S REVISED JURY                                                            Peterson | Wampold
     INSTRUCTIONS - 33                                                                  Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                        1501 FOURTH AVENUE, SUITE 2800
                                                                                       SEATTLE, WASHINGTON 98101-3677
                                                                                             PHONE: (206) 624-6800
                                                                                              FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 34 of 46




 1                                     Plaintiff’s Instruction No. 20

 2                                Injury in Consumer Protection Act Claim

 3          An insured has suffered an “injury” under the Consumer Protection Act if their property or

 4   business has been injured to any degree. The injury element is met if the insured’s property interest

 5   or money is diminished because of the unlawful conduct even if the expenses caused by the

 6   statutory or regulatory violation is minimal.

 7
            Under the Consumer Protection Act, the Plaintiff has the burden of proving that they have
 8
     been injured, but no monetary amount need be proved and proof of any injury is sufficient, even
 9
     if expenses or losses caused by the violation are minimal.
10
11          Injuries to business or property include financial cost or loss.

12
13

14
15

16
17

18

19
20

21

22

23
24   6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 310.06 (7th ed.) (modified); Moratti v.
     Farmers Ins., 162 Wn. App. 495 (2011) (citing Mason v. Mort. Am., Inc., 114 Wn.2d 842, 854
25   (1990)).

26


     PLAINTIFF’S REVISED JURY                                                          Peterson | Wampold
     INSTRUCTIONS - 34                                                                Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                      1501 FOURTH AVENUE, SUITE 2800
                                                                                     SEATTLE, WASHINGTON 98101-3677
                                                                                           PHONE: (206) 624-6800
                                                                                            FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 35 of 46




 1                                    Plaintiff’s Instruction No. 22

 2                                      Insurance Fair Conduct Act

 3          The Plaintiff claims that Integon General Insurance Corporation has violated the

 4   Washington Insurance Fair Conduct Act. To prove this claim, the Plaintiff has the burden of

 5   proving each of the following propositions:

 6          (1) That Integon General Insurance Corporation unreasonably denied payment of benefits;

 7          (2) That the Plaintiff was damaged;

 8          (3) That Integon General Insurance Corporation’s act or practice was a proximate cause of

 9   damage.

10          If you find from your consideration of all of the evidence that each of these propositions

11   has been proved, your verdict on this claim should be for the Plaintiff on this claim. On the other

12   hand, if any of these propositions has not been proved, your verdict on this claim should be for

13   Integon General Insurance Corporation on this claim.

14
15

16
17

18

19
20

21
     6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 320.06.01 (7th ed.).
22

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                        Peterson | Wampold
     INSTRUCTIONS - 35                                                              Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                    1501 FOURTH AVENUE, SUITE 2800
                                                                                   SEATTLE, WASHINGTON 98101-3677
                                                                                         PHONE: (206) 624-6800
                                                                                          FAX: (206) 682-1415
                      Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 36 of 46




 1                                        Plaintiff’s Instruction No. 6

 2                                  Duty to Act in Good Faith – General Duty
 3            An insurer has a duty to act in good faith. This duty requires an insurer to deal fairly with
 4   its insured. The insurer must give equal consideration to its insured’s interests and its own
 5   interests, and must not engage in any action that demonstrates a greater concern for its own
 6   financial interests than its insured’s financial risk. An insurer who does not deal fairly with its
 7   insured, or who does not give equal consideration to its insured’s interests, fails to act in good
 8   faith.
 9
              In proving that an insurer failed to act in good faith, an insured must prove that the insurer’s
10
     conduct was unreasonable, frivolous, or unfounded. The insured is not required to prove that the
11
     insurer acted dishonestly or that the insurer intended to act in bad faith.
12
13

14
15

16
17

18

19
20

21

22

23
24
     6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 320.02 (7th ed.); 6A Wash. Prac., Wash.
25   Pattern Jury Instr. Civ. WPI 320.01.01 (7th ed.) (modified).

26


     PLAINTIFF’S REVISED JURY                                                             Peterson | Wampold
     INSTRUCTIONS - 36                                                                   Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                         1501 FOURTH AVENUE, SUITE 2800
                                                                                        SEATTLE, WASHINGTON 98101-3677
                                                                                              PHONE: (206) 624-6800
                                                                                               FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 37 of 46




 1
                                        Plaintiff’s Instruction No. 7
 2
                     Insurer’s Failure to Act in Good Faith – Denial of First Party Claims
 3
            The duty of good faith requires an insurer to conduct a reasonable investigation before
 4
     refusing to pay a claim submitted by its insured. An insurer must also have a reasonable
 5
     justification before refusing to pay a claim.
 6

 7          An insurer who refuses to pay a claim, without conducting a reasonable investigation or
 8   without having a reasonable justification, fails to act in good faith.
 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
     6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 320.04 (7th ed.).
26


     PLAINTIFF’S REVISED JURY                                                          Peterson | Wampold
     INSTRUCTIONS - 37                                                                Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                      1501 FOURTH AVENUE, SUITE 2800
                                                                                     SEATTLE, WASHINGTON 98101-3677
                                                                                           PHONE: (206) 624-6800
                                                                                            FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 38 of 46




 1                               JURY INSTRUCTION NO. 31
                      INSURED’S DUTY OF GOOD FAITH – GENERAL DUTY
 2
            The reasonableness of the Defendant’s claim handling must be measured as of the time that
 3
     the conduct occurred and based on the facts known to it at the time.
 4

 5

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                      Peterson | Wampold
     INSTRUCTIONS - 38                                                            Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                  1501 FOURTH AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101-3677
                                                                                       PHONE: (206) 624-6800
                                                                                        FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 39 of 46




 1                                     Plaintiff’s Instruction No. 15

 2                        Burden of Proof on the Issues—No Affirmative Defense

 3          The Plaintiff has the burden of proving each of the following propositions on the claim of
 4   negligence:
 5
            First, that Integon General Insurance Corporation acted, or failed to act, in one of the ways
 6
     claimed by the Plaintiff and that in so acting, or failing to act, Integon General Insurance
 7
     Corporation was negligent;
 8

 9          Second, that the Plaintiff was harmed;
10
            Third, that the negligence of Integon General Insurance Corporation was a proximate cause
11
     of the damage to the Plaintiff.
12
13          If you find from your consideration of all the evidence that each of these propositions has
14   been proved, your verdict should be for the Plaintiff on this claim. On the other hand, if any of
15   these propositions has not been proved, your verdict should be for Integon General Insurance
16   Corporation on this claim.
17

18

19
20

21

22

23
24

25   6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 21.02 (7th ed.) (modified).
26


     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 39                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                      1501 FOURTH AVENUE, SUITE 2800
                                                                                     SEATTLE, WASHINGTON 98101-3677
                                                                                           PHONE: (206) 624-6800
                                                                                            FAX: (206) 682-1415
                      Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 40 of 46




 1                                    Plaintiff’s Instruction No. 16

 2                                              Negligence

 3          Negligence is the failure to exercise ordinary care. It is the doing of some act that a
 4   reasonably careful person would not do under the same or similar circumstances or the failure to
 5   do some act that a reasonably careful person would have done under the same or similar
 6   circumstances.
 7
            Ordinary care means the care a reasonably careful person would exercise under the same
 8
     or similar circumstances.
 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24
     6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 10.01, 10.02 (7th ed.).
25
26


     PLAINTIFF’S REVISED JURY                                                      Peterson | Wampold
     INSTRUCTIONS - 40                                                            Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                  1501 FOURTH AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101-3677
                                                                                       PHONE: (206) 624-6800
                                                                                        FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 41 of 46




 1                                    Plaintiff’s Instruction No. 17

 2                 Violation of Statute or Administrative Rule– Evidence of Negligence

 3          The violation, if any, of a statute or administrative rule is not necessarily negligence, but

 4   may be considered by you as evidence in determining negligence. Statutory and administrative

 5   rules that govern insurance companies are set forth in Jury Instruction No. 9 and 10 above.

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22
     6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 60.03 (7th ed.) (modified).
23
24

25
26


     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 41                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                      1501 FOURTH AVENUE, SUITE 2800
                                                                                     SEATTLE, WASHINGTON 98101-3677
                                                                                           PHONE: (206) 624-6800
                                                                                            FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 42 of 46




 1
                                        Plaintiff’s Instruction No. 10
 2
                                Standard for Prompt Investigation of a Claim
 3
                   An insurance regulation provides that the following are standards applicable to all
 4
            insurers:
 5
                   (1)       Every insurer shall complete investigation of a claim within thirty (30) days
 6
            after notification of claim, unless such investigation cannot reasonably be completed within
 7
            such time.
 8
                   (2)       If the insurer needs more time to determine whether a claim should be
 9
            accepted or denied, it shall so notify the claimant within fifteen working days giving the
10
            reasons more time is needed. If the investigation remains incomplete, the insurer shall,
11
            within forty-five (45) days from the date of the initial notification and no later than every
12
            thirty (30) days thereafter send to such claimant a letter setting forth the reasons additional
13
            time is needed for investigation.
14
                   (3)       For all other pertinent communications from a claimant reasonably
15
            suggesting that a response is expected, an appropriate reply must be provided within ten
16
            working days for individual insurance policies, or fifteen working days with respect to
17
            communications arising under group insurance contracts.
18
                   (4)       The insurer's claim files are subject to examination by the commissioner or
19
            by duly appointed designees. The files must contain all notes and work papers pertaining
20
            to the claim in enough detail that pertinent events and dates of the events can be
21
            reconstructed.
22

23
24   6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 60.01 (7th ed.) (modified) citing WAC 284-30-
     370 (“Standards for prompt investigation of a claim”) and WAC 284-30-380(3) (“Settlement
25   standards applicable to all insurers”); Progressive West Ins. Co. v. Bateman, 128 Wn. App. 1051,
     7 (2005).
26


     PLAINTIFF’S REVISED JURY                                                          Peterson | Wampold
     INSTRUCTIONS - 42                                                                Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                       1501 FOURTH AVENUE, SUITE 2800
                                                                                      SEATTLE, WASHINGTON 98101-3677
                                                                                            PHONE: (206) 624-6800
                                                                                             FAX: (206) 682-1415
                     Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 43 of 46




 1                                      Plaintiff’s Instruction No. 23

 2                                                  Damages

 3          It is your duty to determine the value of Plaintiff Hopkins’ claim for insurance benefits. In

 4   determining the value of that claim, you should consider:

 5          You should consider the following past economic damage elements:

 6          • The reasonable value of necessary medical care, treatment and services received to the

 7   present time.

 8          • Lost or diminished assets or property, including value of money.

 9          The following future economic damages elements:

10          • The reasonable value of necessary medical care, treatment and services with reasonable

11   probability to be required in the future.

12          In addition, you should consider the following noneconomic damages elements:

13          • The nature and extent of the injuries.

14          • The disability, disfigurement and loss of enjoyment of life experienced and with

15   reasonable probability to be experienced in the future.

16          • The pain and suffering, both mental and physical, and inconvenience experienced and

17   with reasonable probability to be experienced in the future.

18          In addition to his claim for insurance benefits, Plaintiff Hopkins has asserted claims for

19   violations of the Consumer Protection Act, Insurance Fair Conduct Act, duty to act in good faith,

20   negligence, each of which has its own elements of damages. The Court will instruct as to those

21   damages elements at the conclusion of trial.

22

23   6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 30.01.01 (7th ed.); 6 Wash. Prac., Wash. Pattern
     Jury Instr. Civ. WPI 30.04 (7th ed.); 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 30.05 (7th
24   ed.); 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 30.06 (7th ed.); 6 Wash. Prac., Wash.
     Pattern Jury Instr. Civ. WPI 30.07.01 (7th ed.); 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI
25   30.07.02 (7th ed.); for IFCA “actual damages,” see Dees v. Allstate Insurance Co., 933 F. Supp.
     2d 1299, 1212-13 (W.D. Wash. 2013):
26           [A]n IFCA claimant can recover policy benefits, subject to the policy’s limits
             and other applicable terms and conditions. The court does not agree with

     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 43                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                     1501 FOURTH AVENUE, SUITE 2800
                                                                                    SEATTLE, WASHINGTON 98101-3677
                                                                                          PHONE: (206) 624-6800
                                                                                           FAX: (206) 682-1415
                    Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 44 of 46




 1          Allstate that damages, such as unpaid medical bills, lost wages, and pain and
            suffering cannot be recovered if those damages also represent unreasonably
 2          denied UIM policy benefits. Rather, if Ms. Dees’ medical bill lost wages, and
            pain and suffering damages also represent unreasonably denied policy benefits,
 3          then Ms. Dees may recover these amounts if she proves her IFCA claim at trial.

 4   See also dissent in Segura v. Cabrera, 179 Wash. App. 630, 648, 319 P.3d 98(Wash. Ct. App.
     2014) (“As a general rule, federal and other state statutes that grant ‘actual damages’ permit
 5   recovery of emotional distress,”) and Plaintiff’s trial brief.

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26


     PLAINTIFF’S REVISED JURY                                                      Peterson | Wampold
     INSTRUCTIONS - 44                                                            Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                  1501 FOURTH AVENUE, SUITE 2800
                                                                                 SEATTLE, WASHINGTON 98101-3677
                                                                                       PHONE: (206) 624-6800
                                                                                        FAX: (206) 682-1415
                          Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 45 of 46




 1                                    JURY INSTRUCTION NO. 30
                           INSURED’S DUTY OF GOOD FAITH – GENERAL DUTY
 2
               An insured also has a duty of good faith to the insurer.13 Plaintiff Hopkins complied with
 3
     his duty.
 4

 5

 6

 7
 8

 9
10
11

12
13

14
15

16
17

18

19
20

21

22

23
24

25
26
     13
          RCW 48.01.030

     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 45                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                      1501 FOURTH AVENUE, SUITE 2800
                                                                                     SEATTLE, WASHINGTON 98101-3677
                                                                                           PHONE: (206) 624-6800
                                                                                            FAX: (206) 682-1415
                        Case 2:18-cv-01723-MJP Document 72 Filed 09/28/20 Page 46 of 46




 1                                         Plaintiff’s Instruction No. 25

 2                                            Particular Susceptibility

 3             If your verdict is for the Plaintiff, and if you find that:

 4
               (1) before this occurrence the Plaintiff had a condition that was not causing pain or
 5
     disability; and
 6

 7             (2) the condition made the Plaintiff more susceptible to injury than a person in normal

 8   health,

 9
               then you should consider all the injuries and damages that were proximately caused by the
10
     occurrence, even though those injuries, due to the pre-existing condition, may have been greater
11
     than those that would have been incurred under the same circumstances by a person without that
12
     condition.
13

14
15

16
17

18

19
20

21

22

23
24
     WPI 30.18.01
25
26


     PLAINTIFF’S REVISED JURY                                                         Peterson | Wampold
     INSTRUCTIONS - 46                                                               Rosato | Feldman | Luna
     CASE NO. 2:18-CV-01723 MJP                                                     1501 FOURTH AVENUE, SUITE 2800
                                                                                    SEATTLE, WASHINGTON 98101-3677
                                                                                          PHONE: (206) 624-6800
                                                                                           FAX: (206) 682-1415
